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                       UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TEXAS


   CRAIG CUNNINGHAM,                               §
   Plaintiff,                                      §
                                                   §
   V.

                                                   § /. I         C £
   Ameri Help, LLC, R&A Investment Corp,           §
   East Coast Center, LLC, G. Kenwood              §
   Gaines, and John/Jane Does 1-4                  §
                                                   §
   Defendant


                                                                           FILED
                                  Plaintiffs Original Complaint              DEC 1 8 2018
                                                            Clerk, U.S. District Court
                                               Parties Texas Eastern


   1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

        calls in this case in Collin County.

   2. Ameri Help, LLC is a LLC that can be served via registered agent Law Offices of

        David H. Trevett, PLC, 5850 T. G. Lee Blvd, ste 435, Orlando, FL 32822 or R&A

        Investments Corp., 7512 Dr., Phillips BLVD, Orlando, FL 32819.

   3. East Coast Center, LLC is a managing entity for Ameri Help, LLC and can be served

        via registered agent David Trevett 5850 T. G. Blvd., ste 435 Orlando, FL 32822 or

        manager G. Kenwood Gaines, 8986 Crichton Wood Dr., Orlando, FL 32819.

   4. R&A Investment Corp is a Florida corporation and co- managing entity for Ameri

        Help, LLC and that can be served at 7512 DR. PHILLIPS DRIVE ORLANDO, FL

        32819.
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   5. G. Kenwood Gaines is a natural person and manager of East Coast Center, LLC and

       can be served at 8986 Crichton Wood Dr., Orlando FL 32819

   6. John/Jane Does 1 -4 are other liable parties currently unknown to the Plaintiff.

                                JURISDICTION AND VENUE

   7. Jurisdiction. This Court has federal-question subject matter jurisdiction over

      Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

       statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has

       supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas

      Business and Commerce Code 305.053 because that claim: arises from the same

      nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

      little complexity to the case; and doesn t seek money damages, so it is unlikely to

      predominate over the TCPA claims.

   8. Personal Jurisdiction. This Court has general personal jurisdiction over the

      defendant because they have repeatedly placed calls or text messages Texas residents,

      and derive revenue from Texas residents, and the sell goods and services to Texas

      residents, including the Plaintiff.

   9. This Court has specific personal jurisdiction over the defendants because the calls at

      issue were sent by or on behalf of Entertech, Inc at the direction of Igor Reiant

      through an agreement with Made Simple Ventures, LLC.

   10. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

      because a substantial part of the events giving rise to the claims the calls and sale of

      goods and services directed at Texas residents, including the Plaintiff occurred in

      this District and because the Plaintiff resides in this District, residing in the Eastern
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       District of Texas when he recieved a substantia] if not every single call from the

       Defendants that are the subject matter of this lawsuit.

    11. This Court has venue over the defendants because the calls at issue were sent by or on

       behalf of the above named defendants to the Plaintiff a Texas resident.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

       227

    12. In 1991, Congress enacted the TCPA in response to a growing number of consumer

       complaints regarding telemarketing.

    13. The TCPA makes it unlawful to make any call (other than a call made for emergency

       purposes or made with the prior express consent of the called party) using an

       automatic telephone dialing system or an artificial or prerecorded voice ... to any

       telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

       227(b)(l)(A)(iii).
   14. The TCPA makes it unlawful to initiate any telephone call to any residential

       telephone line using an artificial or prerecorded voice to deliver a message without

       the prior express consent of the called party, unless the call is initiated for emergency

       purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

       the United States, or is exempted by rule or order of the Federal Communication

       Com ission (“FCC”). 47 U.S.C. § 227(b)(1)(B).

   15. The TCPA provides a private cause of action to persons who receive calls in violation

       of § 227(b). 47 U.S.C. § 227(b)(3).

   16. Separately, the TCPA bans making telemarketing calls without a do-not-call policy
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      available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

   17. The TCPA provides a private cause of action to persons who receive calls in

      violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

   18. According to findings of the FCC, the agency vested by Congress with authority to

      issue regulations implementing the TCPA, automated or prerecorded telephone calls

      are a greater nuisance and invasion of privacy than live solicitation calls and can be

      costly and inconvenient.

   19. The FCC also recognizes that wireless customers are charged for incoming calls

      whether they pay in advance or after the minutes are used. In re Rules and

      Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014,

      14115 f 165 (2003).

   20. The FCC requires prior express written consent for all autodialed or prerecorded

      telemarketing robocalls to wireless numbers and residential lines. In particular:[A]

      consumer s written consent to receive telemarketing robocalls must be signed and be

      sufficient to show that the consumer: (1) received clear and conspicuous disclosure

      of the consequences of providing the requested consent, i. e., that the consumer will

      receive future calls that deliver prerecorded messages by or on behalf of a specific

      seller; and (2) having received this information, agrees unambiguously to receive

      such calls at a telephone number the consumer designates. In addition, the written

      agreement must be obtained without requiring, directly or indirectly, that the

      agreement be executed as a condition of purchasing any good or service.

   21. /n the Matter of Rules & Regulations I plementing the Tel. Consumer Prot. Act of


   1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
   (codifying a June 26, 2003 FCC order).
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      1991, 27 FCC Red. 1830, 1844 | 33 (2012) (footnote and internal quotation marks

      omitted). FCC regulations generally establish that the party on whose behalf a

      solicitation is made bears ultimate responsibility for any violations. In the Matter of

      Rides and Regi ations Implementing the Tel Cons mer Prot. Act of 1991, 10 FCC

      Red. 12391, 123971 13 (1995).

   22. The FCC confirmed this principle in 2013, when it explained that “a seller ... may be

      held vicariously liable under federal common law principles of agency for violations

      of either section 227(b) or section 227(c) that are committed by third-party

      telemarketers. In the Matter of the Joint Petition Filed by Dish Network, LLC, 28

      FCC Red. 6574, 6574 1 (2013).

   23. Under the TCP A, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

      F.3d 946, 951 -52 (9th Cir. 2009).

   24. A corporate officer involved in the telemarketing at issue may be personally liable

      under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Season, Case No. 10-


       10010, 2013 U.S. Dis LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) ( [M]any

      courts have held that corporate actors can be individually liable for violating the

      TCPA where they had direct, personal participation in or personally authorized the

      conduct found to have violated the statute.” (internal quotation marks omitted));

      Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415 - 16 (D. Md. 2011) ( If

      an individual acting on behalf of a corporation could avoid individual liability, the

      TCPA would lose much of its force.”).

                        The Texas Business and Commerce Code 305.053

   25. The Texas Business and Commerce code has an analogus portion that is related to the
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       TCPA and was violated in this case.

   26. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

       subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

       damages.


                                   FACTUAL ALLEGATIONS

   27. Amerihelp or agents calling on behalf of Amerihelp called the Plaintiffs cell phone

       using an automated telephone dialing system on no less than 12 different occasions to

       615-212-9191 and claimed to be with the "Federal Student Forgiveness Center and

       claimed that they prequalified people to be forgiven up to 90% on their student loans .

       The calls were part of a student loan scam and were designed to be misleading to an

       average consumer that they were actually on behalf of the Federal Gover ent. The

       calls were not with the Plaintiffs consent or related to any emergency purpose.

   28. Mr. Cunningham received multiple calls from a spoofed caller ID of 615-307-8276 to

       615-212-9191 and were initiated using an automated telephone dialing system. The

       Plaintiff noticed a patented Vici Dial tone upon each and every call connecting

       indicating the calls were initiated using an automated telephone dialing system. The

       calls were actually on behalf of Ameri Help, LLC, at the direction of R & A

      Investment Corp, East Coast Center, LLC, G. Kenwood Gaines as the Plaintiff later

       found out when he was emailed from Arthur Julian on October 8, 2018, (see Ex A)

   29. The calls in October 2018 are alleged to have occured as follows:

   Date/Time        Type         Number         Duration       Direction      Network
    23/10/2018 5:31
                PM call          (615)307-8726 48s             inbound        cell
    23/10/2018 2:31
                PM call          (615)307-8726 36s             inbound        cell
    22/10/2018 4:23
               PM call           (615) 307-8726 9m 11s         inbound        cell
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    17/10/2018 6:54
                PMcall             (615) 307-8726 Is           outbound       cell
     17/10/2018 6:53
                PMcall             (615)307-8726 36s           inbound        cell
    11/10/2018 10:39
                PM call           (615)307-8726 Is             outbound       cell
     11/10/2018 8:52
                PMcall            (615)307-8726 29s            inbound        cell
     11/10/2018 8:49
                 PM call          (615) 307-8726 2m 7s         outbound       cell
     11/10/2018 8:47
                PM call           (615)307-8726 36s            inbound        cell

    08/10/2018 3:28
                PMcall (615) 307-8726 22m 28s inbound cell



   30. The Plaintiff also recieved a call on 10/15/2018, 10/8/2018 from 800-341-8752 and

       3/2/2018 from 615-307-8726 for total of 13 calls that are known currently to the

       Plaintiff.

     Entertech, Inc at the direction of Igor Reiant s sent text messages to the Plaintiff

         according to a contract for texting services with Made Simple Ventures, LLC

   31. Ameri Help, LLC, knew full well that calls were being blaced calls on their behalf to

       consumers across the country pitching talent agency services by or on behalf of

       Amerihelp, LLC at the direction of R & A Investment Corp, East Coast Center,

       LLC, G. Kenwood Gaines. Ameri Help, LLC entered into a contract for

       telemarketing at the direction of R & A Investment Corp, East Coast Center, LLC, G.

       Kenwood Gaines and has a pattern and practice of spamming consumers across the

       country and sending messages to consumers who never signed up and have no interest

       in receiving calls regarding their services.

   32. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

       monthly allotment.

   33. Mr. Cunningham has limited data storage capacity on his cellular telephone.
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      Incoming calls from Igor Reinat and his related entities consumed part of this

      capacity.

   34. No emergency necessitated the calls

   35. Each call was sent by an ATDS.

       Ameri Help, EEC s, R & A Investment Corp, East Coast Center, EEC, G. Kenwood

            Gaines Knowing and Willful Violations of Telemarketin Regulations

   36. Mr. Cunningham asked for an internal do-not-call policy, but none was provided

   37. Ameri Help, EEC’s, R & A Investment Corp, East Coast Center, EEC, G. Kenwood

      Gaines knowingly violated the TCPA by initiating automated calls with pre-recorded

      messages to the Plaintiff.

   38. Ameri Help, EEC’s, R & A Investment Corp, East Coast Center, EEC, G. Kenwood

      Gaines never sent Mr. Cunningham any do-not-call policy.

   39. Ameri Help, EEC’s, R & A Investment Corp, East Coast Center, EEC, G. Kenwood

      Gaines and did not have a written do-not-call policy while it was sending Mr.

      Cunningham text messages.

   40. Ameri Help, EEC’s, R & A Investment Corp, East Coast Center, EEC, G. Kenwood

      Gaines did not train its agents engaged in telemarketing on the existence and use of

      any do-not-call list.


   41. Ameri Help, EEC’s, R & A Investment Corp, East Coast Center, EEC, G. Kenwood

      Gaines calls did not provide Mr. Cunningham with the name of the individual caller

      or the name of the person or entity on whose behalf the call was being made.

       R & A Investment Corp, East Coast Center, LLC, G. Kenwood Gaines control

      over AMERI Help, LLC Including its Illegal Robotexting and Telemarketing
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   42. At all times relevant to the claims alleged herein, Ameri Help, LLC s, R & A

      Investment Corp, East Coast Center, LLC, G. Kenwood Gaines were the sole

      corporate officers and executive in charge of Ameri Help, LLC. Each and every call

      was placed on behalf of the corporate entites owned by R & A Investment Corp, East

      Coast Center, LLC, G. Kenwood Gaines. Ameri Help, LLC s, R & A Investment

      Corp, East Coast Center, LLC, G. Kenwood Gaines co-mingles funds and uses these

      entities as alter egos of each other.

   43. R & A Investment Corp, East Coast Center, LLC, G. Kenwood Gaines’ are the

      incorporator and corporate officer.

   44. R & A Investment Corp, East Coast Center, LLC, G. Kenwood Gaines’ was aware

      that Ameri Help, LLC., was sending automated, telemarketing calls en masse to

      people, including Plaintiff, and had recieved previous complaints about these types of

      calls, according to the BBB profile for the company

   45. As Ameri Help, LLC senior-most executive, R & A Investment Corp, East Coast

      Center, LLC, and G. Kenwood Gaines’ had the power to stop these spam campaigns.

   46. As Amer Help s senior-most executive, R & A Investment Corp, East Coast Center,

      LLC, G. Kenwood Gaines’ had the power to fire the managers and employees taking

      part of the day-to-day operations of these illegal robocalling operations.

   47. Instead, R & A Investment Corp, East Coast Center, LLC, G. Kenwood Gaines’

      allowed the calls to continue and the responsible managers to keep their jobs despite

      his knowledge of frequent do-not-call complaints from recipients of these messages,

      including the Plaintiff.

                      The Plaintiffs cell phone is a residential number
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    48. The text messages were to the Plaintiffs cellular phone 615-212-9191, which is the

        Plaintiffs personal cell phone that he uses for personal, family, and household use.

        The Plaintiff maintains no landline phones at his residence and has not had a landline

        so for at least 10 years and primarily relies on cellular phones to communicate with

        friends and family. The Plaintiff also uses his cell phone for navigation purposes,

        sending and receiving emails, timing food when cooking, and sending and receiving

        text messages. The Plaintiff further has his cell phone registered in his personal name,

        pays the cell phone from his personal accounts, and the phone is not primarily used

        for any business purpose.

                Violations of the Texas Business and Commerce Code 305.053

    49. The actions of Igor Reiant and her corporation violated the Texas Business and

        Commerce Code 305.053 by placing automated calls to a cell phone which violate 47

        USC 227(b). The calls by Igor Reiant and his corporation violated Texas law by

       placing calls with a pre-recorded message to a cell phone which violate 47 USC

       227(c)(5) and 47 USC 227(d) and 47 USC 227(d)(3) and 47 USC 227(e).

    50. The calls by Igor Reiant violated Texas law by spoofing the caller ID s per 47 USC

       227(e) which in turn violates the Texas statute.


                                 I. FIRST CLAIM FOR RELIEF

        (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                    (Against All Defendants)

            1. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.
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           2. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making

    non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

    without his prior express written consent.

           3. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation. 47 U.S.C. § 227(b)(3)(B).

           4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

           5. Mr. Cunningham also seeks a pennanent injunction prohibiting

    Defendants and their affiliates and agents from making non-emergency telemarketing

    robocalls to cellular telephone numbers without the prior express written consent of the

    called party.


                                II. SECOND CLAIM FOR RELIEF

           (Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))

                                     (Against All Defendants)

           6. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

            7. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of FCC regulations by making telemarketing

    solicitations despite lacking:
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                   a.      a written policy, available upon demand, for maintaining a do-not-

    call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                   b. training for the individuals involved in the telemarketing on the

    existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,

                   c. in the solicitations, the name of the individual caller and the name

    of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

    64.1200(d)(4).4

           8. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation. 47 U.S.C. § 227(c)(5)(B).

           9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

            10. Mr. Cunningham also seeks a pennanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until

    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and AFS s name in the solicitations.


            m.THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                     Commerce Code 305.053


            11. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.




    2 See id. at 425 (codifying a June 26, 2003 FCC order).
    3 See id. at 425 (codifying a June 26, 2003 FCC order).
    4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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            12. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the Texas Business and Commerce Code

    305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s

    cellular telephone number without his prior express written consent in violation of 47

    USC 227 et seq. The Defendants violated 47 USC 227(d) and 47 USC 227(d)(3) and 47

    USC 227(e) by using an ATDS that does not comply with the technical and procedural

    standards under this subsection.

            13. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation.Texas Business and Commerce Code 305.053(b)

            14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. Texas Business and Commerce Code

    305.053(c).


                                       TV. PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

    Defendants Ameri Help, LLC s, R & A Investment Corp, East Coast Center, LLC, G.

    Kenwood Gaines jointly and severally as follows:

           A. Leave to amend this Complaint to name additional DOESs as they are

    identified and to conform to the evidence presented at trial;

           B. A declaration that actions complained of herein by Defendants violate the

    TCP A and Texas state law;

           C. An injunction enjoining Defendants and their affiliates and agents from

    engaging in the unlawful conduct set forth herein;
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             D. An award of $3000 per call in statutory damages arising from the TCPA

    intentional violations jointly and severally against the corporation and individual for 30

    calls.


             E. An award of $1,500 in statutory damages arising from violations of the

    Texas Business and Commerce code 305.053

             F. An award to Mr. Cunningham of damages, s allowed by law under the

    TCPA;

             G. An award to Mr. Cunningham of interest, costs and attorneys fees, as

    allowed by law and equity

             H. Such further relief as the Court deems necessary, just, and proper.




                                       12/18/2018

    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
